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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
           Plaintiff,                     )
09                                        )             Case No. CR08-82-RSL
           v.                             )
10                                        )
     JODIE TAYLOR,                        )             DETENTION ORDER
11                                        )
           Defendant.                     )
12   ____________________________________ )
13 Offenses charged:

14          Count 1:       Conspiracy to Distribute Cocaine and Crack Cocaine, in violation of 21
15                         U.S.C. §§ 841(a)(1), and 841(b)(1)(A), and 846.
16 Date of Detention Hearing:      April 3, 2008
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 the following:

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

22 is a flight risk and a danger to the community based on the nature of the pending charges.

23 Application of the presumption is appropriate in this case.

24          (2)     If convicted, defendant faces substantial penalties, including a mandatory 20 year

25 minimum term.

26          (3)     Defendant has a violent criminal history.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (4)     Government proferred defendant has substance abuse problems.
02          (5)     There is little or no background information as defendant was not interviewed by
03 Pretrial Services.

04          (6)     Based on the nature of the pending charges, defendant is considered a flight risk
05 and a danger to the community. There appear to be no conditions or combination of conditions

06 other than detention that will reasonably address the risk of flight, or ensure the safety of the

07 community.

08          IT IS THEREFORE ORDERED:
09          (1)     Defendant shall be detained pending trial and committed to the custody of the
10                  Attorney General for confinement in a correctional facility separate, to the extent
11                  practicable, from persons awaiting or serving sentences or being held in custody
12                  pending appeal;
13          (2)     Defendant shall be afforded reasonable opportunity for private consultation with
14                  counsel;
15          (3)     On order of a court of the United States or on request of an attorney for the
16                  government, the person in charge of the corrections facility in which defendant is
17                  confined shall deliver the defendant to a United States Marshal for the purpose of
18                  an appearance in connection with a court proceeding; and
19          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
20                  counsel for the defendant, to the United States Marshal, and to the United States
21                  Pretrial Services Officer.
22                  DATED this 3rd day of April, 2008.
23

24
                                                           A
                                                           JAMES P. DONOHUE
25                                                         United States Magistrate Judge

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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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